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                 EXHIBIT 1
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                                                                         Contents lists available at ScienceDirect


                                                                         Gynecologic Oncology

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Invited Review

Talc, body powder, and ovarian cancer: A summary
of the epidemiologic evidence
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H I G H L I G H T S


• Genital powder use shows a weak association with ovarian cancer risk.
• The increase in absolute risk of ovarian cancer is very small.
• Body powders have different ingredients that can be hard to quantify.
• The causal mechanism underlying the observed associations is not clear.




a r t i c l e             i n f o                              a b s t r a c t

Article history:                                               Many women apply powder to the genital area as a drying agent. Talc, an inert mineral with a high capacity to
Received 11 April 2021                                         absorb water, has historically been a major component of body powders. Due to its similarity and co-
Received in revised form 19 July 2021                          occurrence with asbestos, the association of body powder/talc use and gynecological cancer risk, speciﬁcally
Accepted 21 July 2021
                                                               ovarian cancer risk, has been a long-standing research question. Retrospective case-control studies have
Available online 6 August 2021
                                                               shown associations between genital powder use and ovarian cancer risk, with summary relative risk estimates
Keywords:
                                                               from meta-analyses and pooled analyses ranging from 1.24 to 1.35 for ever versus never use. In contrast, prospec-
Talc                                                           tive cohort studies have not shown a statistically signiﬁcant association until recently, when a pooled analysis of
Ovarian cancer                                                 four large cohorts demonstrated a weak, but statistically signiﬁcant association among women with patent re-
Genital powder                                                 productive tracts (hazard ratio 1.13). Taken together, the epidemiological data from case-control studies and co-
Uterine cancer                                                 hort studies suggest that there may be a small, positive association between genital powder use and ovarian
Bias                                                           cancer. The causal factors underlying this association are not clear. Proposed factors include talc, other minerals,
Confounding                                                    such as asbestos or quartz, that are known carcinogens and may contaminate talc products, or other powder in-
                                                               gredients that could cause inﬂammation of the reproductive tracts. Given the rarity of ovarian cancer in the gen-
                                                               eral population, the small increase in relative risk translates to a very low increase in absolute risk. Further
                                                               research is needed to understand the underpinnings of the observed association between genital powder use
                                                               and ovarian cancer risk.
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https://doi.org/10.1016/j.ygyno.2021.07.032
0090-8258/© 2021 Published by Elsevier Inc.
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1. Introduction                                                                     powder use and ovarian cancer, it is important to understand underly-
                                                                                    ing causal factors and the potential clinical and public health relevance.
    Talc is a soft and inert mineral with a high capability to absorb water
and organic matter. It is used in a wide range of products, including               2. Chemical properties of talc in body powder
paper, plastics, paint, rubber, agricultural products, pharmaceuticals,
and cosmetics [1]. Because of its capacity to bind water, talc powder                   Talc may either refer to mineral talc itself, or to cosmetic products
has been used in baby powders and feminine hygiene products as a dry-               that contain mineral talc in varying proportions, often in combination
ing agent. Notably, talc shares chemical features and often co-occurs               with corn starch. Talc is a metamorphic mineral composed of magne-
with asbestos, a long-established carcinogen [2]. Due to the similarity             sium silicate (generalized chemical formula Mg3Si4O10(OH)2). Mineral
with asbestos, talc has been evaluated for its carcinogenic potential               talc is commonly platy, i.e. it occurs in ﬂaky layers or sheets, but it can
[1]. Powder application to the genital area has been fairly common,                 also occur as asbestiform ﬁbers. Talc is the softest known mineral.
but body powders contain varying levels of talc, including some labeled             Solid talc minerals are crushed into a white powder referred to as
as talc-free [3]. Historically, there has been great interest in whether            talcum powder that has great ability to absorb both watery and oily sub-
there is a link between genital talc use and cancers of the female repro-           stances. This form of talc is the focus of the current review.
ductive tract.                                                                          Talc can be contaminated with a variety of other minerals. Most im-
    The assessment of the carcinogenic potential of a biological or chem-           portant are contaminations with asbestos or quartz, both class 1 carcin-
ical agent is based on multiple lines of evidence from diverse studies, in-         ogens according to IARC (which means that there is enough evidence to
cluding epidemiological studies, mechanistic studies, cancer bioassays,             conclude that these substances can cause cancer in humans), which fre-
and animal experiments. This review focuses on epidemiological data,                quently co-occur naturally with talc [7]. Early cosmetic talc products
particularly on studies evaluating the association between body pow-                were found to be contaminated with asbestos to various extent [8].
der/talc and ovarian cancer.                                                        More stringent quality control introduced in talc production in 1976
    In 1971, Henderson et al. showed talc particles in 10 out of 13 ovar-           led to a steep reduction in asbestos contamination. While talc products
ian cancer tissue samples, as well as in a low number of endometrial and            since the 1980s have been considered asbestos-free, recent reports have
cervical cancer tissues [4]. In 1979, Longo and Young summarized the                suggested that low-level contamination of talc with asbestos ﬁbers may
evidence available at the time for a role of talc in ovarian cancer and             have persisted in some cosmetic products. To systematically assess the
laid out what studies would be needed to better assess the relationship             presence of asbestos in cosmetic products, the US FDA recently con-
[5]. In 1982, Cramer et al. published the ﬁrst epidemiological study eval-          ducted extensive testing of cosmetic talc products and identiﬁed several
uating the association between genital talc use and ovarian cancer [6]. In          products with asbestos contaminations that have subsequently been
a case-control study conducted in the Boston area, the authors reported             recalled from the market [9]. It cannot be excluded that other ingredi-
an increased risk of ovarian cancer (OR 1.92; 95% CI 1.27–2.89) for any             ents of body powders, such as corn starch, may also have biological
perineal exposure to talc. Since then, several case-control studies evalu-          effects, e.g. by causing irritation or inﬂammation of the female repro-
ating the association between talc or body powder and ovarian cancer                ductive tract.
have been published that showed positive associations, while evalua-
tions in prospective cohort studies have shown only weak or no associ-              3. Biological properties of talc and carcinogenicity studies
ations (summarized in Table 1). Associations between talc use and
uterine cancer have also been investigated in several case-control and                  The number of biologic and animal studies evaluating the carcino-
cohort studies.                                                                     genic potential of talc is limited. In autopsy studies, talc particles have
    In 2010, IARC published volume 93 of their Monograph series on                  been found in the lungs of occupationally exposed individuals [10]. Pa-
“Evaluation of Carcinogenic Risks to Humans” that included the assess-              thology studies have shown talc particles in various cancer tissues in-
ment of carcinogenicity of carbon black, titanium dioxide, and talc [1].            cluding stomach tumors and gynecological tumors, suggesting that
Based on the summary of the biological and epidemiological data at                  talc can reach various parts of the body through inhalation, deposition,
the time, the IARC group classiﬁed talc as a possible carcinogen (2B),              and even retrograde movement in the female genital tract [1]. Potential
which means that there is some evidence that a substance can cause                  toxic effects of talc may depend on the route and dose of administration.
cancer in humans, but that the evidence was not conclusive. Since the               When conducting carcinogenicity assessment, it is important to distin-
2010 IARC carcinogenicity assessment, several epidemiological studies               guish effects caused by other contaminating minerals such as asbestos
have been published that expand the state of knowledge about talc's                 or quartz, from talc-speciﬁc effects. This distinction is only possible
possible carcinogenicity. In this review, we evaluate the epidemiological           when highly pure substances are studied.
evidence on whether there is an association between body powder use                     The carcinogenicity of talc has been evaluated in few animal studies,
and ovarian cancer risk. If the evidence suggests an association between            summarized in the IARC monograph [1]. For example, mice were

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Table 1
Reported estimates of the association between ever (versus never) powder use and ovarian cancer, including summary estimates from published meta- and pooled analyses.

  Author        Year   OR (95% CI)         Meta-analyses                                             Pooled analyses                           Comments

                                           Penninkilampi       Berge 2018         Taher 2019         Terry 2013    O'Brien       Davis 2021b
                                           2018                                                                    2020a

  Overall summary estimates                1.31 (1.24–1.39)    1.22 (1.13–1.3)    1.28 (1.2–1.37)    1.24        1.08        1.32
                                                                                                     (1.15–1.33) (0.99–1.17) (1.17–1.48)c

  Case control summary estimates           1.35 (1.27–1.43)    1.26 (1.17–1.35)   1.32 (1.24–1.40)   1.24
                                                                                                     (1.15–1.33)
  Cramer        1982 1.92 (1.27–2.89)      X                   X                  X
  Hartge        1983 2.5 (0.7–10)          X                   X                  X                                                            Meta-analyses used different
                                                                                                                                               subgroup estimates
  Whittemore    1988   1.4 (1.98–2)        X                   X                  X
  Booth         1989   1.3 (0.94–1.8)      X                   X
  Harlow        1989   1.1 (0.7–2.1)       X                   X                  X
  Chen          1992   3.9 (0.9–10.6)      X                   X
  Harlow        1992   1.5 (1–2.1)                             X                  X
  Rosenblatt    1992   1 (0.2–4)           X                   X                  X                                                            Meta-analyses used different
                                                                                                                                               subgroup estimates
  Tzonou        1993   1.05 (0.28–3.98)    X                   X                  X
  Purdie        1995   1.27 (1.04–1.54)    X                   X
  Shushan       1996   2 (1.11–3.6)        X
  Green         1997   1.3 (1.06–1.6)      X                                      X
  Chang         1997   1.42 (1.08–1.86)    X                   X                  X                  X
  Cook          1997   1.5 (1.1–2)         X                   X                  X
  Godard        1998   2.49 (0.94–6.6)     X                   X                  X
  Wong          1999   0.92 (0.24–3.57)    X                   X                  X
  Ness          2000   1.5 (1.1–2)         X                   X                  X
  Mills         2004   1.37 (1.02–1.85)    X                   X                  X
  Goodman       2008   0.99 (0.7–1.41)                         X                                     X                                         Abstracted numbers from
                                                                                                                                               Terry 2013
  Merritt       2008 1.17 (1.01–1.36)      X                   X                  X                  X
  Gates         2008 1.06 (0.89–1.28)                                             X                                                            Data updated by Gates 2010
                                                                                                                                               and Cramer 2016
  Moorman       2009 1.37 (1.05–1.8)                           X                  X                  X                           X             Abstracted numbers from
                                                                                                                                               Terry 2013
  Rosenblatt    2011 1.27 (0.97–1.66)      X                   X                  X                  X
  Lo-Ciganic    2012 1.34 (1.07–1.66)                          X                                     X                                         Abstracted numbers from
                                                                                                                                               Terry 2013
  Kurta         2012   1.4 (1.16–1.69)     X                                      X
  Wu            2015   1.46 (1.27–1.69)    X                   X                  X                  X                           X
  Cramer        2016   1.33 (1.16–1.52)    X                   X                  X                  X                                         Update of Gates 2010
  Schildkraut   2016   1.44 (1.11–1.86)    X                   X                  X                                              X

  Cohort summary estimates                 1.06 (0.9–1.25)     1.02 (0.85–1.2)    1.06 (0.9–1.25)                  1.08
                                                                                                                   (0.99–1.17)
  Gertig        2000 1.09 (0.86–1.38)      X                                      X                                X                           Updated in Gates 2010,
                                                                                                                                               updated numbers in O'Brien
                                                                                                                                               2020
  Gates         2010 1.06 (0.89–1.28)                          X                                                   X
  Houghton      2014 1.12 (0.92–1.36)      X                   X                  X                                X             X             Updated numbers in O'Brien
                                                                                                                                               2020
  Gonzalez      2016 0.73 (0.44–1.21)      X                   X                  X                                X                           Updated numbers in O'Brien
                                                                                                                                               2020
 a
   Additionally includes data from the Nurses’ Health Study II (talc data unpublished)
 b
   Additionally includes data from the Cook County Case-Control Study (talc data previously unpublished).
 c
   OR = 1.22 (95% CI: 0.97–1.53) in African-American women; OR = 1.36 (95% CI: 1.19–1.57) in White women.




subjected to inhalation, as well as subcutaneous, intraperitoneal, and                         Several lines of evidence suggest that talc causes inﬂammatory
intrathoracic injection. Generally, no increase in tumor incidence was                      reactions. Animal studies have shown release of cytokines,
observed in mice. Rats were subjected to oral administration, inhalation,                   chemokines and growth factors from pleural mesothelial cells
as well as intraperitoneal, intrathoracic, or intrapleural injection, and                   after injection with talc. Similarly, in human tissue, intrapleural
ovarian implantation. In some studies, incidences of alveolar and bron-                     talc injection has led to inﬂammation and pleural ﬁbrosis. In
chial carcinomas were increased after talc inhalation. An increase in                       patients with documented perineal talc use, talc particles can be
pheochromocytomas was also observed, but the IARC group did not                             found in multiple sites along the female reproductive tract [12].
consider that pheochromocytomas are causally related to talc. Hamsters                      Talc use was shown to have an inverse association with MUC1 anti-
were subjected to inhalation and intratracheal injection; no tumors                         bodies in healthy women, but the biologic process underlying
were observed in these studies. A study conducted in rats that evaluated                    this association is not understood [13]. One study found a higher
intravaginal and perineal talc application did not observe any neoplastic                   risk of ovarian cancer associated with powder use among women
changes, but inﬂammatory reactions in the fallopian tubes and other                         with variations in the GSTM1 and GSTT1 genes [14], but to our
areas of the genital tract [11]. However, the limited follow-up time                        knowledge, no other studies have examined potential gene-by-
may have precluded development of tumor endpoints.                                          environment interactions.


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4. Important considerations for epidemiological studies of talc use                 not re-assessed at later follow-up times in cohort studies, the exposure
and gynecological cancer risk                                                       assessment may refer to a time period that was many years, if not
                                                                                    decades, prior to disease development, thereby opening the possibility
4.1. Etiologic heterogeneity of ovarian cancer                                      to non-differential misclassiﬁcation.
                                                                                        For rare diseases, cohort studies must be of sufﬁcient size and dura-
    Ovarian cancer is characterized by profound heterogeneity that can              tion to allow for well-powered assessment of potential risk factors. Most
be observed in site of origin, genetic susceptibility, somatic mutations,           individual prospective cohort studies have not observed meaningful
molecular pathways, risk factor associations and morphologic differ-                associations between talc use and ovarian cancer risk. However, many
ences [15–17]. In aggregate, these data suggest that there are several              cohort studies have few cases and may not be sufﬁciently powered to
etiologically distinct types of cancers that manifest in the ovaries. It            detect a small increase in risk at statistically signiﬁcant levels. It is
has been proposed that a majority of high-grade serous carcinomas                   important to be transparent about study power and the lower limit of
arise from the fallopian tubes, while endometrioid carcinomas may                   detectable associations when reporting study results.
arise from orthotopic or ectopic endometrial tissue, including endome-                  Both case-control studies and cohort studies typically report relative
triosis tissue [15]. Many ovarian cancer risk factors and exposures are             risk measures, including odds ratios or hazard ratios. These relative risks
speciﬁc to certain subtypes [16]. Demonstrating a subtype-speciﬁc asso-             indicate how much the risk of an outcome is increased due to a speciﬁc
ciation can, theoretically, point to a speciﬁc carcinogenic effect.                 exposure in one group compared to another. Measures of absolute risk
    Further, there is similarity between subtypes of ovarian and endo-              of disease may have greater clinical relevance but are often difﬁcult to
metrial cancers [18]. Serous ovarian and endometrial carcinomas have                assess using these standard study designs. Disease prevalence is a key
similar molecular features and may originate from the same cells in                 factor here: the rarer the disease, the smaller the absolute risk increase
the fallopian tube. Similarly, endometrioid ovarian carcinomas share                for a given relative risk increase [24]. Accordingly, for a rare disease like
risk factors and molecular features with endometrioid endometrial car-              ovarian cancer, even a large relative increase may not translate to an
cinomas [16,19,20]. Therefore, comparisons of subtype-speciﬁc associa-              increase in absolute risk that is considered clinically meaningful.
tions across gynecologic cancer sites can inform the carcinogenic
process.                                                                            4.3. Bias and confounding

4.2. Study designs                                                                      In contrast to randomized trials, which are designed to achieve unbi-
                                                                                    ased assessment of speciﬁc exposures, drugs, or interventions, observa-
    Epidemiological studies of talc exposure have been conducted in                 tional studies are at risk of bias. In epidemiology, bias is deﬁned as an
special populations, like talc miners and pulp and paper industry                   error in the study design or conduct that leads to results that are sys-
workers who are exposed to high doses of talc over an extended time                 tematically different from the truth [25]. Key forms of bias including
period. These occupational studies allow for the assessment of very                 selection bias, information bias, and confounding. Selection bias is intro-
high levels of exposure that are typically not found in the general pop-            duced when there is a systematic difference between study participants
ulation, with possibilities for detailed studies of dose-response effects           and the base population, or a systematic difference between cases and
(duration and frequency). However, due to the possible contamination                non-cases. Information bias may occur when data on exposure or out-
of talc with co-existing minerals in mines and in industrial talc products,         comes is systematically different between cases and non-cases. This in-
evaluating talc-speciﬁc effects remains a challenge. Ovarian cancer is              cludes recall bias, discussed in further detail below, and survivor bias,
particularly difﬁcult to study in occupational settings, as high-                   which could occur if talc use affected survival time. Survivor bias is a po-
exposure jobs are typically male-dominated.                                         tentially important source of bias for retrospective studies of diseases
    In the general population, epidemiological studies of talc use and gy-          with high fatality rates, such as ovarian cancer, as cases need to live
necological cancer risk include case-control studies and prospective co-            long enough to be included. If cases are not interviewed soon after
hort studies. A case-control study is an observational study consisting of          their diagnosis, the sample may include a disproportionate number of
a group of cases who experienced a speciﬁc outcome, such as ovarian                 women with less severe disease.
cancer, as well as controls without that outcome [21,22]. These are com-                Confounding occurs when an exposure is associated with an out-
pared to see if there are differences in exposure patterns between the              come, but the causal association is driven by a different factor that is cor-
two groups. Controls for case-control studies should be sampled from                related with both the exposure and the outcome. If the confounding
the base population from which the cases arise. Incompatibility be-                 factor is well-measured, bias due to confounding can be mitigated by
tween the controls and the true source population can lead to bias, as              adjusting for or stratifying on that variable using multivariable regres-
discussed further below. In contrast, cohort studies are observational              sion models. As an example, the association between genital powder
studies that follow an initially non-diseased population to see who de-             use and uterine cancer is strongly confounded by body mass index
velops the outcome(s) of interest [23]. Cohort studies are typically                (BMI), which is both a risk factor for uterine cancer and a strong predic-
much larger than case-control studies and require long-term follow-                 tor of genital powder use. As shown by O'Brien et al., while crude esti-
up, especially for rare outcomes.                                                   mates of the genital powder use- uterine cancer relationship indicated
    These study designs have different advantages and disadvantages.                a strong positive association, models adjusted for BMI indicated there
The major difference between case-control studies and cohort studies                was no independent relationship between body powder use and uterine
is that case-control studies assess exposures at the time of or just after          cancer [26].
a cancer diagnosis, which can lead to differential reporting of exposures
by cases and controls. In contrast, exposure assessment in cohort studies           4.4. Assessment and quantiﬁcation of talc exposure
occurs before the cancer diagnosis. Case-control studies typically focus
on a single disease of interest, like ovarian cancer, and are speciﬁcally               Since talc use is not documented in medical or pharmacy records, as-
designed to evaluate the exposures of interest for that speciﬁc disease.            sessment of talc exposure relies purely on self-report [27]. Cosmetic talc
Therefore, case-control studies tend to have more detailed information              products are typically not easily recognizable without studying the list
on speciﬁc exposures. In contrast, cohort studies generally evaluate a              of ingredients. Body powders have a wide range of ingredients with dif-
wide range of disease outcomes. Exposure assessment is much broader                 ferent talc content, including some talc-free varieties. Since many study
and usually does not go as deep into speciﬁc exposures. For genital pow-            participants may not know whether they used talc, questionnaires in
ders, this means studies will typically have less information on mode of            epidemiologic studies often ask about body powder use. Some case-
application, dose, and duration. Further, when exposure assessment is               control studies include questions about the mode of application. Body

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powder may be applied to the genital area directly or via application to              be relevant, including as a promoter of pre-cancerous cells into tumors,
sanitary napkins or diaphragms [1].                                                   or by accelerating the growth of existing tumors. Few studies have col-
    When evaluating associations between exposures and disease out-                   lected information on talc/body powder dose and duration during spe-
comes in epidemiological studies, establishing a dose-response relation-              ciﬁc time windows or across the lifespan. Depending on how talc/body
ship can be important to support a causal association. Due to the varying             powder exposure is assessed, many studies may not evaluate the
talc content of body powders and the different modes of application, it is            relevant exposure window.
difﬁcult to estimate the actual talc dose applied to the genital area.
    Despite these limitations, some case-control studies have                         5. Summary of the data for genital powder use and ovarian cancer
assessed the frequency and duration of genital powder use. This allows                risk
researchers to distinguish groups with potentially higher and lower ex-
posure, even when the absolute talc exposure level cannot be quanti-                  5.1. Overall associations reported in systematic reviews, meta-analyses,
ﬁed. Cohort studies typically have collected less information on dose                 and pooled analyses
and frequency of application than case-control studies.
                                                                                          Over the last 15 years, several systematic reviews and meta-analyses
4.5. Recall bias                                                                      evaluating the association between body powder or talc use and ovarian
                                                                                      cancer have been published. Three recent meta-analyses and three
     Since exposure assessment in case-control studies is conducted at                pooled analyses are summarized in Table 1 [30–34]. A total of 32 papers
the time of diagnosis, there is a risk of differential recall bias, a type of         were included in at least one of the meta-analyses and pooled analyses
information bias. This occurs when reporting of an exposure is inﬂu-                  spanning articles from 1982 to 2016 [6,14,28,35–62]. There were some
enced by the diagnosis and affected individuals are more likely to report             differences with regard to inclusion of studies and speciﬁc estimates
a speciﬁc exposure or are likely to report a higher dose or duration of ex-           which resulted in differences of the reported associations between the
posure compared to control individuals. This differential recall bias may             meta-analyses and the pooled analyses.
result in an association of an exposure with disease outcome when                         Penninkilampi and Eslick summarized 23 case-control studies and 3
there is truly none, or it may lead to overestimation of a truly small                cohort studies via meta-analysis [33]. Any perineal talc use was associ-
association.                                                                          ated with increased risk of ovarian cancer (OR = 1.31; 95% CI:
     Differential recall bias has been observed in case control studies for a         1.24–1.39). An association with ever use of talc was found in the
wide range of exposures, but there are speciﬁc and well-documented                    meta-analysis of case-control studies (OR = 1.35; 95% CI: 1.27–1.43),
concerns that differential recall bias underlies some of the associations             but not cohort studies (OR = 1.06; 95% CI: 0.90–1.25). The systematic
in case-control studies of talc use and ovarian cancer risk. For example,             review also evaluated lifetime applications of talc to assess whether
in a large case-control study of African American women conducted in                  there is a dose-response relationship. Subjects with more than 3600
North Carolina Schildkraut et al. reported a strong association between               lifetime applications (OR = 1.42; 95% CI: 1.25–1.61) had a slightly
talc use and ovarian cancer [28,29]. However, they only observed a                    higher risk of ovarian cancer compared to those with <3600
signiﬁcant association between genital powder use and ovarian cancer                  applications (OR = 1.32; 95% CI: 1.15–1.50).
in participants interviewed after 2014 (adjusted OR, 2.91; 95% CI,                        Berge et al. summarized 24 case-control studies and 3 cohort studies
1.70–4.97), a benchmark for when a possible talc–ovarian cancer asso-                 via meta-analysis [30]. The overall summary relative risk (RR) for ever
ciation began being widely discussed in the media as a result of ongoing              use of genital talc and ovarian cancer was 1.22 (95% CI: 1.13–1.30).
litigation. Prior to 2014, the association was weaker and not statistically           The RR for case-control studies was 1.26 (95% CI: 1.17–1.35) and for co-
signiﬁcant (OR, 1.19; 95% CI, 0.87–1.63; P interaction by time period =               hort studies was 1.02 (95% CI: 0.85–1.20, P-for-heterogeneity by study
0.005). Importantly, the prevalence of genital powder use among con-                  design = 0.007). There was a weak trend in RR with duration and
trols was the same across the two time periods, whereas the proportion                frequency of genital talc use.
of cases reporting “any” genital powder use increased among those                         Taher et al. summarized 21 case-control studies and 3 cohort studies
interviewed during the later time period. This suggests that differential             [31]. This was the most recently published meta-analysis, and the au-
recall of body powder use may explain at least some of the observed                   thors included a detailed comparison of included studies in their sup-
associations.                                                                         plemental materials, with the main differences being the exclusion of
                                                                                      studies that did not report talc use as main effect estimates in their
4.6. Confounding by indication                                                        original publication. A positive association between perineal use of
                                                                                      talc powder and ovarian cancer was found (OR = 1.28; 95% CI:
   Confounding by indication is a concern in epidemiological studies                  1.20–1.37). They noted signiﬁcant risks in Hispanic and White
evaluating drugs and other exposures. It can occur when an underlying                 women, in women applying talc to underwear, in pre-menopausal
cause of the outcome also causes changes to exposure. An example rel-                 women, and in post-menopausal women receiving hormonal therapy.
evant to the powder-ovarian cancer association is if a hormone-related                    Terry et al. published a large pooled analysis from the Ovarian Can-
condition was a risk factor for ovarian cancer, and also altered the vag-             cer Association Consortium (OCAC) [34]. This pooled analysis included
inal environment in a way that made women more or less likely to apply                eight case-control studies that are included in the previously discussed
genital powder. Such a relationship would induce a non-causal associa-                meta-analyses. In contrast to meta-analyses, pooled analyses make use
tion between talc use and ovarian cancer. Most studies do not collect                 of the original data, with the ability to harmonize exposure categories
data on the underlying reason for talc use, which may be wide ranging.                and covariates across studies. Based on data from 8525 cases and 9859
Without this knowledge, we cannot rule out confounding by indication.                 controls, Terry et al. found that genital powder use was associated
                                                                                      with a statistically signiﬁcant increase in risk of ovarian cancer (OR =
4.7. Timing of exposure                                                               1.24, 95% CI: 1.15–1.33). There was limited evidence of a dose-
                                                                                      response trend across categories of lifetime number of applications
    Talc/body powder may be used over a wide age range, or only during                (p-for-trend = 0.17).
a short period in life. The biologic effect of body powder on the cells at                O'Brien et al. pooled data from the four large prospective cohorts
risk of ovarian cancer may differ depending on the timing of exposure.                known to have information on genital powder use [32]. This included
With the example of ovarian and other cancers, the disease latency pe-                updated data from three previously published cohorts [14,40,42,48] as
riod may be quite long, meaning that use several decades prior could be               well as previously unpublished data from the Nurses' Health Study II.
associated with disease risk. On the other extreme, recent use could also             Ever use of genital powder was associated with a small but not

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statistically signiﬁcant increase in ovarian cancer risk (HR = 1.08, 95%                       risk factors. The identiﬁcation of subtype-speciﬁc associations could
CI: 0.99–1.17). There was no evidence that more frequent or long-                              strengthen the argument for the existence of a causal relationship.
term use was associated with further increases in risk.                                        Most studies published since 1997 have included histotype-speciﬁc es-
    Most recently, Davis et al. published results from a pooled analysis of 5                  timates, with serous ovarian cancers (sometimes restricted to high
studies (4 population-based case-control, 1 prospective cohort) partici-                       grade serious or invasive serous) being the most common (Table 2). In
pating in the Ovarian Cancer in Women of African Ancestry Consortium                           the previously published meta-analyses, Penninkilampi and Eslick re-
(OCWAA) [63]. They observed a positive association between genital                             ported that ever talc use was positively associated with serous carcino-
powder use and ovarian cancer in both African-American women (OR                               mas (OR = 1.32, 95% 1.22–1.43), including among cohort studies only
= 1.22, 95% CI: 0.96–1.55) and White women (OR = 1.34, 95% CI:                                 (OR = 1.25, 95% CI: 1.01–1.55) [33]. Talc use was also positively associ-
1.16–1.56 in White women), with a combined estimate of OR = 1.31                               ated with endometroid tumors (OR = 1.35, 95% CI: 1.14–1.60), and pos-
(95% CI: 1.15–1.48) overall. There were no clear dose-response trends.                         sibly mucinous (OR = 1.12, 95% CI: 0.94–1.33), but not clear cell (OR =
                                                                                               1.02, 95% CI: 0.75–1.39).
5.2. Associations of genital powder use and ovarian cancer risk by histotype                       The Berge et al. meta-analysis reported similar ﬁndings, including a
                                                                                               positive association between talc use and serous carcinoma (RR: 1.24;
   As discussed previously, ovarian cancers encompass several differ-                          95% CI: 1.15–1.34) and to a lesser extent endometroid carcinoma
ent histotypes, which may have different cells of origin and unique                            (RR: 1.15, 95% CI: 0.91–1.39), but not mucinous (RR = 0.96, 95% CI:


Table 2
Reported estimates of the association between ever (versus never) powder use and ovarian cancer by histotype, including summary estimates from published meta- and pooled analyses.

  Author                     Year    Serous             Endometroid        Mucinous              Clear cell        Meta-analyses                        Pooled analyses

                                                                                                                   Penninkilampi     Berge    Taher     Terry    O'Brien    Davis
                                                                                                                   2018              2018     2019      2013a    2020b      2021c

  Case control studies
  Harlow                     1992    1.4 (0.9–2.2)      2.8 (1.2–6.4)      1.2 (0.6–2.5)         1.6 (0.8–3.3)                       X        X
  Chang                      1997    1.34               1.7 (1.00–2.79)    1.585                                   X                 X        X         X
                                     (0.96–1.85)                           (0.97–2.58)
  Cook                       1997    1.7 (1.1–2.5)      1.2 (0.6–2.3)      0.7 (0.4–1.4)         1.8 (1.1–2.8)     X                 X        X
  Wong                       1999    1.2 (0.7–2.1)      1.4 (0.7–2.7)      1.5 (0.6–4.0)         1.6 (0.6–4.3)     X                 X        X
  Mills                      2004    1.77               1.28               2.56 (0.89–7.39)      0.63              X                 X        X
                                     (1.12–2.81)        (0.62–2.62)                              (0.15–2.64)
  Goodman                    2008    1.29 (0.82,        0.49               0.82 (0.29–2.30)      1.29                                X                  X
                                     2.03)              (0.20–1.18)                              (0.82–2.03)
  Merritt                    2008    1.21               1.18               1.10 (0.80–1.52)      1.08              X                 X        X         X
                                     (1.03–1.44)        (0.81–1.70)                              (0.68–1.72)
  Gates                      2008    1.60               1.41               1.28 (0.85–1.92)                                                   X
                                     (1.26–2.02)        (0.97–2.05)
  Moorman                    2009    1.56               1.19               0.87 (0.27–1.84)      1.03                                X        X         X                   X
                                     (1.13–2.15)        (0.69–2.06)                              (0.52–2.03)
  Rosenblatt                 2011    1.01               1.53               1.78 (0.98–3.23)                        X                 X        X         X
                                     (0.69–1.47)        (0.91–2.57)
  Lo-Ciganic                 2012    1.12               1.32               3.03 (1.28–7.16)      1.75                                X                  X
                                     (0.83–1.52)        (0.74–2.35)                              (0.86–3.55)
  Cramer                     2016    1.42 (1.19,        1.38               0.87 (0.53, 1.44)     1.01              X                 X        X         X
                                     1.69)              (1.06–1.80)                              (0.65–1.57)
  Schildkraut                2016    1.38                                                                          X                 X        X                             X
                                     (1.03–1.85)

  Cohort studies
  Gertig                     2000    1.26               0.91               0.93 (0.53–1.66)                        X                          X                  X
                                     (0.94–1.69)        (0.49–1.87)
  Gates                      2010    1.06               1.06               1.50 (0.84–2.66)                                          X                           X
                                     (0.84–1.35)        (0.66–1.69)
  Houghton                   2014    1.16               1.29               1.03 (0.47–2.27)      1.04              X                 X        X                  X          X
                                     (0.88–1.53)        (0.64–2.61)                              (0.70–1.54)

  Pooled/meta-analyzed estimates
  Penninkilampi            2018      1.32               1.35               1.12 (0.94, 1.33)     1.02 (0.75,
                                     (1.22–1.43)        (1.14–1.60)                              1.39)
  Berge                      2018    1.24               1.15               0.96 (0.73–1.18)      0.98
                                     (1.15–1.34)        (0.91–1.39)                              (0.72–1.23)
  Taher                      2019    1.35                                  1.17 (0.82–1.67)
                                     (1.21–1.50)
  Terry                      2013    1.20               1.22               1.09 (0.84–1.42)      1.24
                                     (1.09–1.32)        (1.04–1.43)                              (1.01–1.52)
  O'Brien                    2020    1.10               1.15               1.03 (0.69–1.54)      1.17
                                     (0.97–1.25)        (0.83–1.58)                              (0.73–1.89)
  Davis, African             2021    1.30
   Americans                         (1.00–1.68)
  Davis, Whites              2021    1.32
                                     (1.13–1.56)
 a
   Additionally includes data from the University of Southern California Study of Lifestyle and Women's Health [62].
 b
   Additionally includes data from the Nurses Health Study II (talc data previously unpublished) and the Sister Study [42].
 c
   Additionally includes data from the University of Southern California Study of Lifestyle and Women's Health [62] and the Cook County Case-Control Study (talc data previously
unpublished).

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0.73–1.18) or clear cell (RR = 0.98; 95% CI: 0.72–1.23) [30]. A positive                       possibly also endometroid tumors. The relationship between talc use
association with serous tumors was again demonstrated in the Taher                             and the rarer mucinous or clear cell tumor histotypes is more ambigu-
et al. meta-analysis (OR = 1.35, 95% CI: 1.21–1.50) [31]. Taher et al. ob-                     ous, though it is not clear whether this is due to true etiologic differ-
served an elevated but not signiﬁcant risk associated with mucinous tu-                        ences or because their rarity makes them more difﬁcult to study.
mors (OR = 1.17, 95% CI: 0.82–1.67). In the Terry et al. pooled analysis,
ever genital powder use was associated with serous (OR = 1.20, 95% CI:                         5.3. Associations of genital powder use and ovarian cancer risk by tubal
1.09–1.32), endometroid (OR = 1.22, 95% CI: 1.04–1.43) and clear cell                          ligation and hysterectomy status
(OR = 1.24, 95% CI:1.01–1.52) carcinomas, but not mucinous (OR =
1.09, 95% CI: 0.84–1.42) [34].                                                                    Another key factor in understanding the potentially causal relation-
    In the pooled analysis that included updated data from the prospec-                        ship between talc use and ovarian cancer is the concept of patency, de-
tive cohorts, O'Brien et al. observed an elevated but not statistically sig-                   ﬁned here as having an unobstructed physical pathway between the
niﬁcant hazard ratio for the association between ever genital powder                           genital area and ovaries. The proposed carcinogenic mechanism sug-
use and serous ovarian cancers (HR = 1.10, 95% CI: 0.97–1.25) [32]. Es-                        gests that talc particles must travel up the reproductive tract (through
timates were also elevated for endometroid (HR = 1.15, 95% CI:                                 the vagina, cervix, and uterus) to reach the fallopian tubes and ovaries.
0.83–1.58) and clear cell (HR = 1.17, 95% CI: 0.73–1.89) carcinomas,                           As such, it would make sense that women who did not have uteri (i.e.
but not statistically signiﬁcant. Ever genital powder use was not associ-                      had had a hysterectomy) and/or those who had blocked fallopian
ated with mucinous tumors (HR = 1.03, 95% CI: 0.69–1.54). The Davis                            tubes (via tubal ligation), would have a markedly reduced risk of devel-
et al. pooled analyses also reported elevated risk for serous tumors in                        oping the disease as a direct consequence of talc use. As described
both African American (OR = 1.30, 95% CI: 1.00–1.68) and white                                 below, many of the existing studies have attempted to look at this in
women (OR = 1.32, 95% CI: 1.13–1.56). The other histotypes were not                            some way. However, most were unable to do so with a clear temporal
separately evaluated [63].                                                                     sequence between hysterectomy/tubal ligation and powder use. For ex-
    Overall, these results consistently demonstrate that there is a posi-                      ample, it may not be possible to know whether talc was used prior to
tive association between talc use and serous ovarian cancers, and                              hysterectomy/tubal ligation or what a woman's combined patency


Table 3
Reported estimates of the association between ever (versus never) powder use and ovarian cancer stratiﬁed by hysterectomy and tubal ligation (TL) status, including summary estimates
from published meta- and pooled analyses.

  Author        Year    Association for ever vs. never talc use             Notes                                                                 Taher 2019    Terry   O'Brien
                                                                                                                                                  meta-analysis 2013    2020b
                        Patent women (no          Women with
                                                                                                                                                                pooleda pooled
                        hysterectomy or tubal     hysterectomy and/or
                        ligation)                 tubal ligation
                                                  (non-patent)

  Case control studies
  Cramer         1982 2.79 (p < 0.003)                                      compared to 3.28 overall                                              X
  Whittemore 1988 1.33 (0.88, 2.01)            1.42 (0.75, 2.68)            non-patent estimate based on crude numbers                            X
  Harlow         1992 1.7 (1.0–3.0) for 10,000                              compared to 1.8 (1.0, 3.0) overall                                    X
                       applications versus
                       none
  Rosenblatt     1992 2.4 (1.0–5.8)            0.15 (0.027–0.88)            tubal ligation only; patency estimates based on talc use prior to     X
                                                                            tubal ligation/ never tubal ligation, non-patent estimate based on
                                                                            time after tubal ligation
  Green         1997 1.3 (1.0–1.7)                0.6 (0.5–0.84)            patency estimates based on talc use prior to surgery/ never           X
                                                                            surgery, non-patent estimate based on time after surgery
  Chang         1997 1.11 (0.99–1.24)             1.03 (0.82–1.29)                                                                          X                     X
  Cook          1997                                                        estimates unchanged after excluding those who used powder after X
                                                                            hysterectomy/tubal ligation
  Wong          1999 1.2 (0.8–1.6)                0.8 (0.5–1.2)                                                                             X
  Mills         2004 1.54 (1.10–2.16) no TL;      0.88 (0.46–1.68) TL;                                                                      X
                     1.33 (0.95–1.87) no          1.79 (0.91–3.52) hyst
                     hyst
  Merritt       2008 >25 years vs. none:          >25 years vs. none:       patency estimates based on talc use prior to surgery/ never           X               X
                     1.29 (1.04–1.58),            1.00 (0.64–1.51);         surgery, non-patent estimate based on time after surgery
                     p-trend =0.02                p-trend = 0.61
  Rosenblatt    2011 1.23 (0.93–1.64)                                       compared to 1.27 (0.97, 1.66) overall                                 X               X
  Cramer        2016 1.22 (1.04, 1.43)            1.73 (1.31, 2.27)                                                                               X               X

  Cohort studies
  Gertig        2000 1.16 (1.01–1.33)             1.07 (0.94–1.20)          updated study-speciﬁc results from O'Brien et al.                     X                         X
  Houghton      2014 1.13 (1.01–1.26)             1.11 (0.95–1.30)          updated study-speciﬁc results from O'Brien et al.                     X                         X
  Gonzalez      2016 0.85 (0.92–1.39)             1.02 (0.76–1.38)          updated study-speciﬁc results from O'Brien et al.                     X                         X

  Pooled/Meta-analyzed estimates
  Taher        2019                         1.06 (0.78, 1.42)               compared to 1.06 (0.90–1.25) overall
  Terry        2013 Q5 vs. Q1 of cumulative                                 Limiting analysis to those exposed prior to surgery (or never
                     applications: 1.36                                     surgery) made “no substantive difference” in results
                     (1.18–1.57)
  O'Brien      2020 1.13 (1.01–1.26)        0.99 (0.86–1.15)
  Davisc       2021 1.27 (1.09–1.48)        1.42 (1.17–1.72)
  a
    Additionally includes data from the University of Southern California Study of Lifestyle and Women's Health [62]; the Hawaii Ovarian Cancer Study [43]; the North Carolina Ovarian
Cancer Study [53]; the Hormones and Ovarian Cancer Prediction Study [50].
  b
    Additionally includes data from the Nurses Health Study II (talc data previously unpublished) and the Sister Study [42].
  c
    Includes only Women's Health Initiative [48] from table. Additionally includes data from the University of Southern California Study of Lifestyle and Women's Health [62], the Cook
County Case-Control Study (talc data previously unpublished), North Carolina Ovarian Cancer Study [53] and the African-American Cancer Epidemiology Study [28].

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and talc use status was during key windows of susceptibility (e.g.                     The case-control study reported no association between perineal
menopause).                                                                        talc use and endometrial cancer (OR = 0.88, 95% CI: 0.68–1.14) [64].
    In their pooled analysis of 8 case-control studies, Terry et al. found         Findings from the pooled analysis were also null (HR = 1.01, 95% CI:
that after excluding those who ﬁrst started using genital powder after             0.94–1.09), except for a possible increased risk among long-term users
hysterectomy or tubal ligation, results were similar to the overall analy-         (>20 years; HR = 1.12, 95% CI: 0.96–1.31). There was no evidence for
sis (Table 3; OR = 1.36, 95% CI: 1.18–1.57 for the 4th versus 1st quartile         heterogeneity by endometrial cancer subtype.
of cumulative number of lifetime talc applications; compared to original
overall estimate OR = 1.32, 95% CI: 1.16–1.52) [34]. The only meta-
analysis to explore this issue was Taher et al., who reported an inverse           6. Conclusion
association between talc and ovarian cancer among those who had
had tubal ligation (OR = 0.64, 95% CI: 0.45–0.92) [31]. When they ex-                  When assessing the complex relationship between genital powder
amined studies that reported estimates from participants with a history            use and ovarian cancer, three important related questions need to be
of either hysterectomy or tubal ligation, the meta-analyzed estimate               addressed: 1. Is there an association between genital powder and ovar-
was close to null (OR = 1.06, 95% CI: 0.78–1.42). Davis et al. reported            ian cancer risk? 2. If there is an association, what is the underlying
similar estimates when analyses were restricted to women with patent               causal factor? 3. If there is an association, what is the clinical and public
reproductive tracts (OR = 1.27, 95% CI: 1.09–1.48) versus those with a             health relevance? The epidemiological data on the association between
history of tubal ligation or hysterectomy (OR = 1.42, 95% CI:                      powder use and ovarian cancer risk have varied by study type. Recent
1.17–1.72; p-for-heterogeneity = 0.31) [63].                                       systematic reviews and meta-analyses that included case-control data
    The prospective studies did not systematically collect details on              reported elevated ovarian cancer risk among powder users relative to
timing of genital powder use relative to the age at which women                    non-users, with odds ratios ranging from 1.22 to 1.32. Concern has
underwent hysterectomy or tubal ligation [32]. However, in those                   been raised that this association could be at least somewhat attributable
who had patent reproductive tracts at enrollment, a history of genital             to recall bias, which would occur if ovarian cancer patients were more
powder use was associated with an increased risk of developing inci-               likely to report body powder use compared to controls [29].
dent ovarian cancer (HR = 1.13, 95% CI: 1.01–1.26). This association                   Because cohort studies assess exposure before disease occurs, they
was null among women who did not have patent reproductive tracts                   are not subject to recall bias. Individual cohort studies have not shown
at enrollment (HR = 0.99, 95% CI: 0.86–1.15).                                      statistically signiﬁcant associations between powder use and ovarian
    Given the difﬁculties with establishing a clear sequence of events in          cancer risk, but many cohort studies are limited by low ovarian cancer
the genital powder use relative to hysterectomy or tubal ligation, espe-           case numbers and limited exposure assessments. In a recent pooled co-
cially in the case-control studies, the interpretation of these ﬁndings is         hort analysis with a large number of cases, ever use of genital powder
quite difﬁcult. However, the results of the prospective studies support            was positively associated with ovarian cancer, but the hazard ratio did
the hypothesis that the positive association between genital powder                not reach statistical signiﬁcance. However, a pre-speciﬁed sub-analysis
use and ovarian cancer may be limited to women with patent reproduc-               limited to women who had not had a hysterectomy or tubal ligation
tive tracts.                                                                       showed a statistically signiﬁcant positive association (HR = 1.13).
                                                                                   Taken together, the epidemiological data from case-control studies
                                                                                   and cohort studies suggest that there may be a small, positive associa-
5.4. Associations of genital powder use and ovarian cancer risk in diverse
                                                                                   tion between genital powder use and ovarian cancer, which may be lim-
populations
                                                                                   ited to women with patent reproductive tracts. Data from a large case-
                                                                                   control study suggested that associations between talc use and ovarian
    As previously mentioned, Davis et al. conducted a pooled analysis
                                                                                   cancer risk were largely conﬁned to premenopausal women and post-
examining the association between genital powder use and ovarian
                                                                                   menopausal women who used hormone therapy [39]. This could indi-
cancer in the OCWAA consortium [63], which only included studies
                                                                                   cate that estrogen may be an effect modiﬁer of the talc-ovarian cancer
with large samples of African-American women. Consistent with previ-
                                                                                   association.
ously observed trends, African American women in the included studies
                                                                                       The inability to differentiate between different types of powder and
were more likely to report ever having used genital powder (34% of
                                                                                   their respective ingredients in epidemiological studies makes it chal-
African-American non-cases versus 31% of White non-cases), but effect
                                                                                   lenging to identify factors responsible for the observed associations.
estimates were similar between the two racial groups (OR = 1.22, 95%
                                                                                   Since talc is a major component in many body powders, it has long
CI: 0.97–1.53 in African American women and OR = 1.37, 95% CI:
                                                                                   been proposed as a causal factor. However, the experimental and animal
1.1–1.57 in White women). In analyses limited to high grade serous tu-
                                                                                   carcinogenicity data for talc are limited and inconclusive, and there are
mors, Davis et al. reported elevated associations for both African
                                                                                   currently no good animal or experimental models of ovarian carcino-
American (OR = 1.30. 95% CI: 1.00–1.68) and White (OR = 1.32, 95%
                                                                                   genesis that could be used to more directly test biological effects of
CI: 1.13–1.56) women. Non-serous tumors were positively associated
                                                                                   talc [1]. Asbestos contamination of talc was proposed as an explanation
with powder use in White women (OR = 1.38, 95% CI: 1.15–1.66), but
                                                                                   for some of the initially observed associations between powder use and
not African American women (OR = 1.08. 95% CI: 0.78–1.51).
                                                                                   ovarian cancer, and recent ﬁndings of asbestos contamination in cos-
                                                                                   metic products suggest that asbestos could have continued to play a
5.5. Association of genital powder use and uterine cancer                          role. Data on other possibly carcinogenic contaminants of talc, such as
                                                                                   quartz, are very scarce. Other components of body powder, including
    The shared etiology of ovarian and uterine cancer subtypes warrant             corn starch, could also possibly play a role in carcinogenesis by inducing
evaluation of presumed and established ovarian cancer risk factors in              inﬂammation in the reproductive tract, but carcinogenicity data are
uterine cancer studies. Genital powder has easier access to the uterine            lacking. Confounding by indication may explain some of the observed
lining compared to the fallopian tubes and the ovarian surface. On the             associations. This would occur if women with hormonal or inﬂamma-
other hand, menstruation could clear genital powder from the surface               tory exposures or conditions that are associated with ovarian cancer
of the uterus, thereby mitigating its inﬂuence. Several studies have eval-         were also more likely to use powder in the genital area. However,
uated the association of genital powder use and uterine cancer, includ-            there is currently no data supporting such an effect. In summary, we
ing one case-control study [64] and three cohort studies [65–67].                  currently do not understand the causal factors that underly the ob-
Updated data from the three cohorts plus the Nurses' Health Study II               served weak associations between genital powder use and ovarian can-
were combined in a uterine-cancer speciﬁc pooled analysis [26].                    cer risk.

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    Independent of the underlying cause, the association between pow-                Funding statement
der use and ovarian cancer risk is weak. The low relative risk translates
to a very low absolute risk increase, given the rarity of ovarian cancer. In             This work was supported the Intramural Research Program of the
the pooled cohort analysis by O'Brien et al., the estimated increase in              National Institutes of Health (National Cancer Institute and National
ovarian cancer risk by age 70 was 0.09% (95% CI: −0.02-0.19%) for all                Institute of Environmental Health Sciences).
users of body powder and 0.22% (95% CI: 0.02–0.42%) for body powder
users with patent reproductive tracts [32]. Given the inability to attri-            Declaration of Competing Interest
bute a clear causal factor to the observed associations, the lack of a
good experimental model, the lack of a speciﬁc biomarker for powder-                     The authors do not report a conﬂict of interest.
related carcinogenesis, and the inability to rule out confounding by indi-
cation, it is difﬁcult to conclude that the observed associations are                References
causal. Furthermore, given the widespread use of powders and the rar-
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